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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 JOHN COMPO, individually and on behalf of
 all others similarly situated,

                Plaintiff,

        v.                                          Case No.

 UNITED AIRLINES, INC., and
 UNITED AIRLINES HOLDINGS, INC.,

                Defendants.
                                                    JURY TRIAL DEMANDED

                                CLASS ACTION COMPLAINT

       Plaintiff John Compo (“Plaintiff”), individually and on behalf of all others similarly

situated, brings this action against Defendants United Airlines, Inc. and United Airlines Holdings,

Inc. (collectively, “Defendants” or “United”), by and through his attorneys, and alleges as follows

based on information and belief, except as to allegations specifically pertaining to Plaintiff, which

are made upon personal knowledge:

                                        INTRODUCTION

       1.      America is at war with an invisible enemy. In late December 2019, a previously

undiscovered coronavirus surreptitiously spread from animals to humans in a wet market in

Wuhan, the capital of China’s Hubei province, and began its march across continents, rivers and

oceans, infecting countless people along the way.

       2.      Unlike prior coronaviruses, such as the virus that caused Middle East Respiratory

Syndrome, this virus and the disease it causes—dubbed COVID-19—spreads insidiously. Due to

its potentially extensive incubation period and ability to transmit itself via asymptomatic hosts,

COVID-19 has wreaked unprecedented havoc across the globe. Indeed, although the virus was not
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detected in the United States until mid-January 2020, it has now infected at least 300,000 people

across the country.

       3.      In an effort to slow the virus’s spread and avoid overwhelming medical systems,

beginning in late February state and local governments across the country began issuing “stay-at-

home” orders that confine residents to their homes, allowing them to leave only for necessities

such as medical care and food. The American economy is in tatters, and across the country millions

suddenly have found themselves wondering where they will turn for income if the crisis persists.

       4.       Unsurprisingly, airline travel has come to a near standstill as Americans find

themselves unable to leave their homes, let alone travel domestically or internationally, and over

the last month United and its competitors have had no choice but to cut schedules and cancel

thousands of flights.

       5.      Unfortunately for Plaintiff and the putative Class, however, United has shifted the

burden of this extraordinary crisis onto its customers, who, in some cases, paid thousands of dollars

for flights the COVID-19 pandemic precludes them from taking. Specifically, and unlike its

competitors, United has ignored its obligation to refund to its customers monies they paid for

flights they will never take, but which they may sorely need to provide for themselves and their

families during this trying time.

       6.      United has engaged in unfair, unlawful and unconscionable practices in order to

unjustly enrich itself at the expense of its customers, and Plaintiff brings this action in order to

secure refunds for each and every similarly situated consumer United has wronged by refusing to

issue full refunds for flights cancelled as a direct and proximate result of the COVID-19 crisis.




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                                  JURISDICTION AND VENUE

        7.      This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C. §

1332(d)(2), the Class Action Fairness Act of 2005, because: (i) there are 100 or more Class

members, (ii) there is an aggregate amount in controversy exceeding $5,000,000, exclusive of

interest and costs, and (iii) there is minimal diversity because at least one plaintiff and one

defendant are citizens of different States. This Court has supplemental jurisdiction over the state

law claims pursuant to 28 U.S.C. § 1367.

        8.      This Court has personal jurisdiction over Defendants because they are

headquartered in this judicial district.

        9.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because

Defendants are headquartered in this district, transact business in this district, are subject to

personal jurisdiction in this district, and therefore are deemed to be citizens of this district, and

because a substantial part of the events or omissions giving rise to the claims occurred in this

District.

                                            PARTIES

        10.     Plaintiff JOHN COMPO is a resident and citizen of Vermont.

        11.     Plaintiff purchased a roundtrip ticket to visit his daughter in New Zealand through

United's website. Plaintiff paid $1051.95 for the ticket for a trip beginning on April 6, 2020.

        12.     On April 3, 2020, United emailed Plaintiff and informed him that his flight was

canceled. On April 5, 2020, Plaintiff called United to request a refund but was informed that he

would only be provided with a voucher for a future flight and that he would not receive a refund

for the ticket price.




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        13.       During his April 5, 2020 call with United, Plaintiff also spoke with a United agent

whose     supervisor     recommended       that   he    attempt   to   receive    a     refund   through

www.united.com/refunds. However, when he visited that site, there was no refund option available

for his ticket.

        14.       To date, United has not refunded Plaintiff the price of his ticket.

        15.       Defendant UNITED AIRLINES, INC. is a Delaware corporation with its principal

place of business located at 233 S. Wacker Dr., Chicago, Illinois 60606, and is a resident of

Delaware and Illinois.

        16.       Defendant UNITED AIRLINES HOLDINGS, INC. is a Delaware corporation with

its principal place of business located at 233 S. Wacker Dr., Chicago, Illinois 60606, and is a

resident of Delaware and Illinois.

                                     FACTUAL ALLEGATIONS

        17.       The current pandemic, like most health catastrophes, began silently and

unexpectedly. On December 31, 2019, Chinese authorities reported that an unknown virus had

begun to spread in Wuhan, the capital of China’s Hubei province. The virus, which medical

authorities were unable to identify, proved capable of producing a severe respiratory infection that,

in some cases, required hospitalization and caused death.

        18.       It was not until early January 2020 that the World Health Organization (“WHO”)

identified the virus as a “novel,” or undiscovered, coronavirus for which humans have no known

immunity. The WHO would later officially name the disease the novel coronavirus produces

“coronavirus disease 2019,” or COVID-19.




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       19.     COVID-19 initially appeared contained to China and other portions of eastern Asia.

But on January 20, 2020, authorities diagnosed the first official case of COVID-19 in the United

States, in a 35-year-old who had recently returned from Wuhan to the State of Washington.

       20.     COVID-19 spread quickly. By January 30, 2020, there were nearly 8,000 confirmed

cases of COVID-19 worldwide. In response, the WHO declared COVID-19 a “Public Health

Emergency of International Concern.” The next day, President Trump declared a public health

emergency due to COVID-19, and the U.S. State Department banned travel between the United

States and China.

       21.     Unfortunately for residents of the United States, the President’s actions were too

little, too late; COVID-19 had already proven capable of spreading silently through communities,

steadily increasing its reach before its existence is detected. On February 29, 2020—the same day

the U.S. government issued a “do not travel” warning and prohibited travel between the United

States and several countries with COVID-19 outbreaks—the State of Washington became the first

state to declare a state of emergency due to COVID-19. It would not be the last to do so.

       22.     On March 11, 2020, the WHO reclassified COVID-19 as a worldwide pandemic.

That same night, President Trump made a televised address from the Oval Office during which he

announced a moratorium on all flights from Europe (excluding Great Britain) for 30 days. The

President extended that ban to Great Britain the very next day.

       23.     The President declared a “National Emergency” on March 13, 2020 and, on March

15, the Centers for Disease Control and Prevention recommended avoiding gatherings of 50 people

or more. The next day, the federal government tightened those guidelines and recommended

avoiding groups of 10 people or more.




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         24.    Despite these efforts, by March 23, 2020 the United States had reported more

confirmed cases of COVID-19 than any other county in the world, and by the end of March the

governors of most states had declared states of emergency due to COVID-19. State and local

officials across the country also had issued stay-at-home orders that canceled public events, banned

group gatherings, and closed schools, restaurants, and retail stores and prohibited unnecessary

travel for weeks, if not indefinitely.

         25.    As a direct and proximate result of this unprecedented crisis, in March many

airlines, including United, canceled or rescheduled flights.

         26.    For example, on March 4, 2020, United announced that it would reduce scheduled

flights in April in the United States and Canada by 10%, and reduce international flights by 20%.

         27.    On March 17, 2020, United announced a further reduction in flights scheduled for

April and May, reducing flights in the United States and Canada by 42%, and internationally by

85%. By March 20, 2020, United had cancelled approximately 95% of international flights

scheduled for April. It expects to continue to cancel flights in this manner through the summer of

2020.

         28.    United, like most of its competitors, undoubtedly is suffering as a result of these

untenable economic conditions. But for their part, U.S. taxpayers, through the federal government,

have provided substantial assistance to the airline industry in order to insulate its most critical

components—the men and women in its employ—from the economic hardship the pandemic

might otherwise impose upon them. In March 2020, Congress passed the Coronavirus Aid, Relief

and Economic Security Act (dubbed the “CARES Act”), which, inter alia, provides more than $58

billion in aid to U.S. airlines, notwithstanding the fact that over the past decade the country’s

largest airlines have spent roughly 96% of their free cash flow on stock buybacks.



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       29.      Unlike most of its competitors, however, in the face this crisis and concern from

travelers, United changed its refund policies to the detriment of its customers and the benefit of its

shareholders.

       30.      Prior to the COVID-19 pandemic, United’s uniform policy provided that when a

flight was delayed by 2 hours or more, United would refund the passenger the price of the ticket.

But on March 7, 2020, United unilaterally changed its refund policy: only flights delayed 25 hours

or more were eligible for cash refunds, and United applied the policy retroactively to all previously

booked fares.

       31.      Consumers immediately began to complain, likely due in no small part to the

immense financial pressure COVID-19 imposed on all Americans. So, on March 10, 2020, only

days after it changed its policy, United changed course yet again. United’s new policy—its third

in several days—provided that it would issue cash refunds, but only on a case-by-case basis.

       32.      United’s illusory efforts did little to alleviate its customers’ concerns since it still

presented a marked shift from its original refund policy, thus, four days later, on March 14, 2020,

United adopted its fourth cancelation and refund policy, which remains in effect today.

       33.      The March 14th policy provides that a delay of 6 hours or more constitutes a

cancellation, but instead of issuing a cash refund United will now provide passengers only a credit

for the value of the ticket and any optional fees paid, such as baggage fees, meals, or seat upgrades.

Customers also must use the credit within 12 months of the originally scheduled flight.

       34.      Only if the canceled-ticket credit is not used within 12 months of the originally

scheduled flight is the passenger eligible for a cash refund. However, the passenger is required to

request a refund from United, and United will deduct a cancelation fee from the value of the credit.

United also retroactively applied the March 14th policy to previously purchased tickets.



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          35.   United’s March 14th policy thus provides that when United cancels a flight, its

passengers are ineligible for a cash refund (net of cancellation fees) until more than a year has

passed. In other words, rather than make its customers whole in this time of need by refunding

them monies they paid for flights they will never take, United has elected to force its customers to

provide it with a one-year, interest free loan, one for which United’s customers ultimately will pay

a fee.

          36.   United describes the changes to its policies and its refusal to provide cash refunds

for canceled flights as “accomodat[ing] customers by offering more options to rebook their

flights.”

          37.   United’s fourth iteration of its cancelation policy in March 2020 was not well-

received. One well-known travel website described United’s policy as “simply deplorable,” and

tantamount to “expecting customers to provide [United] a 12 month interest free loan.”1

          38.   Indeed, few consumers will be able to actually use the credit for a canceled flight,

as the vast majority of airline passengers fly only once each year.2

          39.   In response to United’s new policy, a group of nine United States Senators issued

a public letter castigating United for its conduct and insisting that United refund customer fares.

The letter states, in pertinent part:

                We write to urge your airline to issue full cash refunds to all customers who
                cancel their flights during the COVID-19 crisis, and to American citizens
                who encounter flight cancelations while stranded in countries that
                implemented travel restrictions. The ongoing pandemic is placing enormous
                financial strain on millions of Americans, and families need cash to pay for
                essentials such as food, housing, and medical care. In light of this pressing
                need and the unprecedented bailout—to the tune of $25 billion—that the

1
   See United Will Refund You in a Year for Canceled Flight, ONE MILE AT A TIME, www.
https://onemileatatime.com/united-airlines-refund-one-year/ (last accessed Apr. 6, 20202).
2
  See JT Genter, American Airlines Dropped Some Amazing Stats at its Media Day, The Points Guy (Sept.
28, 2017), https://thepointsguy.com/2017/09/american-airlines-amazing-stats/ (noting that American
Airlines stated that 87% of its passengers fly only once per year).
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               airline industry just received from Congress, we believe your company has
               a moral responsibility to provide real refunds, not travel vouchers, to
               consumers, and to support State Department efforts to repatriate any
               American citizens trying to come home.

                                              *       *       *

               It would be unacceptable to us for your company to hold onto travelers’
               payments for canceled flights instead of refunding them, especially in light
               of the $25 billion bailout that the airline industry just received from
               Congress.

       40.     On April 3, 2020, in response to United’s and other airlines’ refusals to issue

refunds to passengers for canceled flights, the United States Department of Transportation issued

an Enforcement Notice Regarding Refunds By Carriers Given the Unprecedented Impact of the

COVID-19 Public Health Emergency On Air Travel” (the “Enforcement Notice”).3 The

Enforcement Notice states that:

               Carries have a longstanding obligation to provide a prompt refund to a
               ticketed passenger when the carrier cancels the passenger’s scheduled flight
               or makes a significant change in the flight schedule and the passenger
               chooses not to accept the alternative offered by the carrier. The
               longstanding obligation of carriers to provide refunds for flights that carriers
               cancel or significantly delay does not cease when the flight disruptions are
               outside of the carrier’s control (e.g., a result of government restrictions).

       41.     Moreover, the requirement to provide a “prompt refund” applies to passengers who

purchased “non-refundable tickets” and applies to any optional fee charged for services a

passenger is unable to use, such as baggage fees, meals, and seat upgrades.

       42.     The Enforcement Notice also states that this obligation “does not cease when the

flight disruptions are outside of the carrier’s control (e.g., a result of government restrictions).”

Instead, airlines are to offer refunds whenever passengers are not at fault for the cancellation,

regardless of whether the cancellation is within or outside the carrier’s control.


3
 Available at: https://www.transportation.gov/sites/dot.gov/files/2020-
04/Enforcement%20Notice%20Final%20April%203%202020_0.pdf (last visited Apr. 6, 2020).
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       43.     The “longstanding obligation” regarding refunds is set forth in the Code of Federal

Regulation. Specifically, consumers are entitled to refunds whenever their carrier cancels their

flight. 76 Fed. Reg. 23110-01, at 23129 (Apr. 25, 2011) (“Since at least the time of an Industry

Letter of July 15, 1996 . . . the Department’s Aviation Enforcement Office has advised carriers

that refusing to refund a non-refundable fare when a flight is canceled and the passenger wishes to

cancel is a violation of 49 U.S.C. 41712 (unfair or deceptive practices) and would subject a carrier

to enforcement action.”).

       44.     Despite the significant backlash regarding United’s cancelation and refund policy,

United continues to refuse to provide a cash refund to passengers for flights that United canceled.

                                    CLASS ALLEGATIONS

       45.     Plaintiff brings this action, individually and, pursuant to Federal Rule of Civil

Procedure 23(a), 23(b)(2), and/or 23(b)(3), on behalf of a Nationwide Class defined as follows:

               All persons in the United States who purchased airline tickets through
               United Airlines, or for flights on United Airlines, to, from or within the
               States, and sought to cancel their flights, or had their flights cancelled, on
               or after February 29, 2020.

       46.     In the alternative, Plaintiff brings this class action on behalf of the following State

Subclass:

               The Vermont Class:

               All persons in Vermont who purchased airline tickets through United
               Airlines, or for flights on United Airlines, to, from or within the States, and
               sought to cancel their flights, or had their flights cancelled, on or after
               February 29, 2020.

Excluded from the Class are: (a) Defendants; (b) Defendants’ affiliates, agents, employees,

officers and directors; and (c) the judge assigned to this matter, the judge’s staff, and any member

of the judge’s immediate family.



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       47.     Numerosity: Upon information and belief, the Class is so numerous that joinder of

all members is impracticable. While the exact number and identity of individual members of the

Class are unknown at this time, such information being in the sole possession of United and

obtainable by Plaintiff only through the discovery process. Plaintiff believes, and on that basis

allege, that the Class consists of hundreds of thousands of people. The number of Class members

can be determined based on United’s records.

       48.     Commonality: Common questions of law and fact exist as to all members of each

Class. These questions predominate over questions affecting individual Class members. These

common legal and factual questions include, but are not limited to:

               a.      Whether federal regulations require United to provide passengers a refund
                       when United cancels the passenger’s flight;

               b.      Whether United committed common law fraud;

               c.      Whether United was unjustly enriched by its conduct; and

               d.      Whether United violated the Vermont Consumer Fraud Act.

       49.     Typicality: Plaintiff has the same interest in this matter as all Class members, and

Plaintiff’s claims arise out of the same set of facts and conduct as the claims of all Class members.

Plaintiff’s and Class members’ claims all arise out United’s uniform conduct, statements, and

unlawful, unfair, and deceptive acts and practices.

       50.     Adequacy: Plaintiff has no interest that conflicts with the interests of the Class, and

is committed to pursuing this action vigorously. Plaintiff has retained counsel competent and

experienced in complex consumer class action litigation. Accordingly, Plaintiff and his counsel

will fairly and adequately protect the interests of the Class.

       51.     Superiority: A class action is superior to all other available means of fair and

efficient adjudication of the claims of Plaintiff and members of the Class. The injury suffered by


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each individual Class member is relatively small compared to the burden and expense of individual

prosecution of the complex and extensive litigation necessitated by United’s conduct. It would be

virtually impossible for members of the Class individually to effectively redress the wrongs done

to them. Even if the members of the Class could afford such individual litigation, the court system

could not. Individualized litigation increases the delay and expense to all parties, and to the court

system, presented by the complex legal and factual issues of this case. Individualized rulings and

judgments could result in inconsistent relief for similarly-situated individuals. By contrast, the

class action device presents far fewer management difficulties, and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court.

       52.      United has acted or refused to act on grounds generally applicable to the Class,

thereby making appropriate final injunctive relief and corresponding declaratory relief with respect

to the Class as a whole.

                                         COUNT I
                       VIOLATIONS OF THE ILLINOIS CONSUMER
                        FRAUD AND DECEPTIVE PRACTICES ACT
                            (on behalf of the Nationwide Class)

       53.      Plaintiff realleges and incorporates by reference all paragraphs as though fully set

forth herein.

       54.      Illinois’s Consumer Fraud and Deceptive Business Practices Act prohibits unfair or

deceptive acts or practices in the conduct of any trade or commerce, including among others, “the

use or employment of any deception, fraud, false pretense, false promise, misrepresentation or the

concealment, suppression or omission of any material fact, … whether any person has in fact been

misled, deceived, or damaged thereby.” 815 ILCS 505/2. The Act also prohibits suppliers from

representing that their goods are of a particular quality or grade that they are not.

       55.      Airline tickets are “merchandise” as defined in 815 ILCS 505/1(b). United is a

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“person” as defined in 815 ILCS 505/1(c). Plaintiff and the other Class members are “consumers”

as defined in 815 ILCS 505/1(e).

       56.       In the course of United’s business, it knowingly and intentionally failed to provide

refunds to consumers, such as Plaintiff, when Defendant cancelled their flights.

       57.       United had actual knowledge of the Enforcement Notice and consumers’ right to a

refund as described herein, but refused to provide refunds to consumers.

       58.       Upon being contacted by consumers, such as Plaintiff, United engaged in unfair

and deceptive acts and practices by stating consumers were only able to obtain a voucher and not

a refund.

       59.       United’s unfair and deceptive practices were done to enrich its bottom line to the

detriment of Plaintiff and the Class.

       60.       The injuries suffered by Plaintiff and the Class are greatly outweighed by any

potential countervailing benefit to consumers or to competition, nor are they injuries that Plaintiff

and the Class should have reasonably avoided.

       61.       Plaintiff’s and the other Class members’ injuries were proximately caused by

Defendant’s fraudulent and deceptive business practices.

       62.       United’s conduct in this regard was wanton, willful, outrageous, and in reckless

indifference to the rights of Plaintiff and the other Class members and, as such, warrants the

imposition of punitive damages.

                                           COUNT II
                                    COMMON LAW FRAUD
             (on behalf of the Nationwide Class or, alternatively, the Vermont Class)

       63.       Plaintiff realleges and incorporates by reference all paragraphs as though fully set

forth herein.



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           64.       United made material misrepresentations and/or omissions concerning the ability

of Plaintiff and Class members to receive refunds for cancelled flights. For example, United falsely

represented that Plaintiff and the Class members were only able to receive travel vouchers United

did not fully and truthfully disclose to its customers that they were entitled to receive refunds. As

a result, Plaintiff and the other Class members were fraudulently induced to purchase airline tickets

and were unable to pursue refunds of amounts paid for tickets.

           65.       United had a duty to disclose that Plaintiff and the Class members were entitled to

refunds when Plaintiff and the Class members contacted United seeking refunds.

           66.       These misrepresentations and omissions were made by United with knowledge of

their falsity, and with the intent that Plaintiff and Class members rely upon them.

           67.       Plaintiff and Class members reasonably relied on these omissions, and suffered

damages as a result.

                                              COUNT III
                                        UNJUST ENRICHMENT
                 (on behalf of the Nationwide Class or, alternatively, the Vermont Class)

           68.       Plaintiff realleges and incorporates by reference all paragraphs as though fully set

forth herein.

           69.       Plaintiff and the Class conferred a direct benefit on United by purchasing airline

tickets.

           70.       United knowingly and willingly accepted and enjoyed the benefits conferred on it

by Plaintiff and the Class.

           71.       United’s retention of these benefits in unjust and inequitable due to the conduct

described herein.




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       72.      As a direct and proximate cause of United’s unjust enrichment, Plaintiff and the

Class are entitled to an accounting, restitution, attorneys’ fees, costs and interest.

                                       COUNT IV
                VIOLATIONS OF THE VERMONT CONSUMER FRAUD ACT
                            (on behalf of the Vermont Class)

       73.      Plaintiff realleges and incorporates by reference all paragraphs as though fully set

forth herein.

       74.      The Vermont Consumer Fraud Act (“VCPA”) makes it unlawful to commit “Unfair

methods of competition in commerce, and unfair or deceptive acts or practices in commerce.” 9

V.S.A. § 2453(a). The VCPA provides a private right of action for “[a]ny consumer who contracts

for goods or services in reliance upon false or fraudulent representations or practices … or who

sustains damages or injury as a result of any false or fraudulent representations or practices”

prohibited by the VCPA. .” 9 V.S.A. § 2461(b).

       75.      Plaintiff is a “consumer” as defined by 9 V.S.A. § 2451a(a).

       76.      United is a “seller” of “goods” or “services” as defined by 9 V.S.A. § 2451a(b)-(c).

       77.      In the course of United’s business, it knowingly and intentionally failed to provide

refunds to consumers, such as Plaintiff, when United cancelled their flights.

       78.      United had actual knowledge of the Enforcement Notice and consumers’ right to a

refund as described herein, but refused to provide refunds to consumers.

       79.      Upon being contacted by consumers, such as Plaintiff, United engaged in unfair

and deceptive acts and practices by stating consumers were only able to obtain a voucher and not

a refund.

       80.      United’s unfair and deceptive practices were done to enrich its bottom line to the

detriment of Plaintiff and the Class.



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       81.     As set forth above, United’s actions occurred in the conduct of trade or commerce

and constitutes unfair and/or deceptive trade practices under the VCPA.

       82.     Plaintiff and the Class relied upon and were deceived by United’s unfair and

deceptive misrepresentations of material fact in deciding to purchase airline tickets from United.

       83.     Plaintiff and the Class were injured as a result of United’s conduct, and suffered

ascertainable monetary loss. Plaintiff and the class members and did not receive the benefit of their

bargain.

       84.     Plaintiff seeks an award of actual damages, treble damages, attorney’s fees and

costs as permitted by the VCPA. 9 V.S.A. § 2461(b).

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and the Class, respectfully requests that

this Court:

               A.      Determine that the claims alleged herein may be maintained as a class action
                       under Rule 23 of the Federal Rules of Civil Procedure, and issue an order
                       certifying the Class(es) as defined above;

               B.      Appoint Plaintiff as the representative of the Class and his counsel as Class
                       Counsel;

               C.      Award all actual, general, special, incidental, statutory, punitive, and
                       consequential damages to which Plaintiff and Class members are entitled;

               D.      Award pre-judgment and post-judgment interest on such monetary relief;

               E.      Grant appropriate injunctive and/or declaratory relief, including, without
                       limitation, an order that requires United to issue refunds of ticket prices to
                       any member of the class who requests a refund;

               F.      Award reasonable attorney’s fees and costs; and

               G.      Grant such further relief that this Court deems appropriate.




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                                         JURY DEMAND

        Plaintiff, on behalf of himself and the putative Class, demands a trial by jury on all issues

so triable.



Dated: April 6, 2020                          Respectfully submitted,


                                              /s/ Daniel O. Herrera
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                                              *Admission pro hac vice anticipated



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